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STATE OF MINNESOTA                                      DISTRICT COURT
                                                          CIVIL DIVISION
COUNTY OF HENNEPIN                             FOURTH JUDICIAL DISTRICT

Robert Lilienfeld,                         Case No.
                                                      ---------------------

                Plaintiff,
                                                     COMPLAINT
                                               (JURY TRIAL DEMANDED)
       v.

Troy Carlson, individually and in his
official capacity as a Minneapolis
Police Officer,

John Haugland, individually and in his
official capacity as a Minneapolis
Police Officer,

              Defendants.


                               INTRODUCTION

       1.     The ability to safely, calmly, and professionally interact with the

public is intrinsic requirement for effective law enforcement. On February 11,

2014, Defendants failed to meet this requirement.         Defendants allowed the

adrenaline of the moment to cloud their judgment and acted with complete

disregard for the rights and dignity of Robert Lilienfeld - using excessive force to

seize Mr. Lilienfeld. Defendants' actions deprived Mr. Lilienfeld of his rights

secured to him by the United States Constitution and the laws of the United States.




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                          JURISDICTION AND VENUE

       2.      This Comi has general jurisdiction over the subject matter of this

claim pursuant to Minn. Stat.§ 484.01, subd. 1(1).

       3.      This Court has personal jurisdiction over Defendants because they

reside in Minnesota and have committed the acts giving rise to the allegations set

forth herein in Minnesota.

      4.       Venue in Hennepin County is proper because the causes of action

arose in Hennepin County.

                                     PARTIES

      5.       Plaintiff Robert Lilienfeld is a Minnesota resident who lives in South

Minneapolis.

      6.       Defendant Officer Troy Carlson is an Officer with the Minneapolis

Police Depmiment and is a Minnesota resident.

      7.       Defendant Officer John Haugland is an Officer with the Minneapolis

Police Department and is a Minnesota resident.

                                       FACTS

       8.      Ori February 11, 2014, Robert Lilienfeld waited at a house in

Brooklyn Park, MN for his Nephew to pick him up and transport him back to his

home in South Minneapolis.

      9.       James Mitchell, Mr. Lilienfeld's nephew, anived at the home

accompanied by a friend.




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       10.      Mr. Lilienfeld got in the passenger's seat of the vehicle and Mr.

Mitchell started to drive.

       11.      Shortly after pulling away, Mr. Mitchell pulled into a gas station to

fill the vehicle's tank.

       12.      As Mr. Mitchell pulled out of the gas station, a Minneapolis Police

Department squad started to follow Mr. Mitchell's vehicle.

       13.      Upon seeing the squad, Mr. Mitchell did a U-turn.           The squad

continued to follow Mr. Mitchell.

       14.      Mr. Mitchell pulled into a truck stop with the squad following.

       15.      Mr. Mitchell stopped the vehicle and the squad waited.

       16.      Mr. Mitchell peeled out of the truck stop and began to z1g-zag

through a housing development.

       17.      Mr. Lilienfeld asked Mr. Mitchell what was going on. Mr. Mitchell

admitted to Mr. Lilienfeld that he and his friend had stolen the vehicle.

       18.      Before this point, Mr. Lilienfeld did not know, and had no reason to

know, that Mr. Mitchell and Mr. Mitchell's friend had stolen the vehicle.

       19.      At some point in the housing development, Mr. Mitchell's friend,

sitting in the back, driver's side of the vehicle, jumped out of the moving car and

began to run.

       20.      Eventually, Mr. Mitchell ended up on highway 94, driving

approximately 100 miles per hour with multiple Minneapolis Police Department

squad cars following.


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        21.   Mr. Mitchell exited the highway at either Lowry or Dowling and

continued to drive 100 miles per hour away from the following squads.

        22.   Eventually, Mr. Mitchell arrived at Penn Avenue and attempted to

get onto highway 394.

        23.   On the entrance ramp, the vehicle caught on fire and stopped.

        24.   As soon as the vehicle stopped, Mr. Lilienfeld got out.

        25.   Mr. Lilienfeld exited the vehicle with his hands up, yelling to the

police officers that he was innocent, with his cane in one hand, raised in the air,

and his backpack slung over his other shoulder.

        26.   The police ordered Mr. Lilienfeld to the ground at gunpoint.

        27.   Mr. Lilienfeld complied, first dropping to his knees and then placing

his upper body on the ground. Mr. Lilienfeld threw his cane and backpack to the

ground and kept his anns in the air, above his head, with his chest to the ground

and his legs spread.

        28.   While Officer John Haugland pointed a gun at Mr. Lilienfeld's head,

Officer Troy Carlson rushed Mr. Lilienfeld and slammed his knee into Mr.

Lilienfeld's face. Officer Carlson then punched Mr. Lilienfeld in the back of the

head.

        29.   When Officer Carlson acquired control of one of Mr. Lilienfeld's

arms, Officer Haugland rushed Mr. Lilienfeld and punched him in the back.

        30.   Officer Carlson, while trying to handcuff Mr. Lilienfeld punched

him again, this time in the side of his body.


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       31.       Officer Carlson placed his knee on Mr. Lilienfeld's face and shoved

Mr. Lilienfeld's face into the gravel.

       32.       Finally, Officer Carlson snapped-up Mr. Lilienfeld by the handcuffs

with the help ofanother officer, injuring Mr. Lilienfeld's shoulder.

                                      COUNT I:

                           EXCESSIVE USE OF FORCE

             UNITED STATES CONSTITUTION- 42 U.S.C. § 1983

       33.    Plaintiff incorporates the allegations set forth in each of the

preceding paragraphs as if fully set fotth herein.

       34.    A state actor shall be liable to an individual if that state actor

deprives the individual of the rights, privileges, or immunities guaranteed by the

United States Constitution and laws ofthe United States. 42 U.S.C. § 1983·. The

United States Constitution guarantees the right to be free from unreasonable

searches and seizures. U.S. Canst. Amend. IV. The use of excessive force renders

a seizure unreasonable and therefore unlawful.

       35.       In violation of 42 U.S.C. § 1983, Defendant Carlson deprived

Plaintiff of his right to be free from unreasonable seizures. After Plaintiff laid

face down on the ground with his hands up above his head, Defendant Carlson

kneed Plaintiff in the face, punched him in the head and in the side, pressed his

head into the gravel with his knee, and forcibly snapped Plaintiff up to his feet by

his handcuffs.




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       36.    Defendant Carlson's actions were not objectively reasonable under

the Fourth Amendment for the purposes of qualified immunity under the totality of

circumstances.

       37.    As a direct and proximate result of Defendant Carlson's actions,

Plaintiff was injured -       suffering physical, mental, and emotional pain,

embanassment, attorney fees, and the costs of bringing suit.

       38.    Defendant Carlson, as a result of his outrageous and illegal behavior,

is liable to Plaintiff for the above-mentioned injuries, as well as punitive damages.

                                     COUNT II:

                          EXCESSIVE USE OF FORCE

             UNITED STATES CONSTITUTION- 42 U.S.C. § 1983

       39.    Plaintiff incorporates the allegations set forth in each of the

preceding paragraphs as if fully set forth herein.

       40.    A state actor shall be liable to an individual if that state actor

deprives the individual of the rights, privileges, or immunities guaranteed by the

United States Constitution and laws of the United States. 42 U.S.C. § 1983. The

United States Constitution guarantees the right to be free from unreasonable

searches and seizures. U.S. Const. Amend. IV. The use of excessive force renders

a seizure unreasonable and therefore unlawful.

       41.    In violation of 42 U.S.C. § 1983, Defendant Haugland deprived

Plaintiff of his right to be free from unreasonable seizures. After Plaintiff laid

face down on the ground with his hands above his head, and Defendant Carlson


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had control of one of Plaintiffs arms, Defendant Haugland rushed Plaintiff and

punched Plaintiff in the back.

       42.      Under the totality of circumstances, Defendant Haugland's actions

were not objectively reasonable under the Fourth Amendment for the purposes of

qualified immunity.

       43.      As a direct and proximate result of Defendant Haugland's actions,

Plaintiff has been injured - suffering physical, mental, and emotional pain,

embarrassment, attorney fees, and the costs of bringing suit.

       44.      Defendant Haugland, as a result of his outrageous and illegal

behavior, is liable to Plaintiff for the above-mentioned injuries, as well as punitive

damages.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court enter judgment in favor

of Plaintiff and against Defendants, as follows:

       1. An order granting Plaintiff judgment against Defendants;

       2. An order granting Plaintiff compensatory damages in such amount as

             the jury may determine;

       3. An order granting Plaintiff injunctive and declaratory relief against

             Defendants, whereby Defendants are temporarily and permanently

             enjoined and restrained from violating the Constitution or the laws of

             the United States;




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         4. An order for Defendants to pay Plaintiff's costs, interest, and attorney

            fees;

         5. An order tor Defendants to pay any and all further relief available in

            equity and at law.

Plaintiff demands a jmy trial.




Dated:    \..Jl/lL'{   &,J rzv!Le                MADIA LAW LLC



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                               ACKNOWLEDGMENT

The undersigned hereby acknowledges that, pursuant to Minn . Stat. § 549.211 , sanctions
may be awarded to the parties against whom the allegations in the pleadings are asserted.

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                                                          cody J. Blades




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                                                                                    Exhibit 2
